Case 0:23-cv-61628-RLR Document 1-1 Entered on FLSD Docket 08/24/2023 Page 1 of 1



                                                        IN THE US DISTRICT COURT FOR THE
                                                        SOUTHERN DISTRICT OF FLORIDA

                                                        CASE NO.


  LAWRENCE A. CAPLAN

         Plaintiff,
  v.

  DONALD J. TRUMP

         Defendant
                               ___________/
                      SUMMONS/PERSONAL SERVICE ON A NATURAL PERSON

  TO:    DONALD J. TRUMP
         270 SW Natura Avenue
         Deerfield Beach, FL 33441
                                                 IMPORTANT
          A lawsuit has been filed against you. You have twenty (20) calendar days after this summons
  is served on you to file a written response to the attached complaint/petition with the Clerk of this
  Court. A phone call will not protect you. Your written response, including the case number given
  above and the names of the parties, must be filed if you want the court to hear your side of the case.
  If you do not file your response on time, you may lose the case, and your wages, money, and property
  may thereafter be taken without further warning from the Court. There are other legal requirements.
  You may want to call an attorney right away. If you do not know an attorney, you may call an
  attorney referral service or a legal aid office (listed in the phone book).
          If you choose to file a written response yourself. At the same time you file your written
  response with the Court you must also mail or take a copy of your written response to the Plaintiff
  named herein: Lawrence A. Caplan, P.A., 1375 Gateway Blvd., Boynton Beach, FL 33426

  THE STATE OF FLORIDA: To Each Sheriff of the State: You are commanded to serve this
  summons and a copy of the complaint/petition in this lawsuit on the above-named defendant.
  DATED on                           , 2023.


                                  CLERK OF THE US DISTRICT COURT
                                 By: _____________________________
